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  13 RYDER RIPPS and JEREMY CAHEN
  14
                         UNITED STATES DISTRICT COURT
  15
                       CENTRAL DISTRICT OF CALIFORNIA
  16
                                   WESTERN DIVISION
  17
  18 YUGA LABS, INC.,                          Case No.: 2:22-cv-04355-JFW-RAO
  19               Plaintiff,                  DEFENDANT JEREMY CAHEN’S
                                               OPPOSITION TO PLAINTIFF
  20       v.                                  YUGA LABS, INC.’S MOTION TO
                                               COMPEL THIRD-PARTY DOR,
  21 RYDER RIPPS, JEREMY CAHEN,                CRISOSTOMO, DOR & DOW
                                               ACCOUNTANCY CORPORATION
  22               Defendants.                 TO PRODUCE DOCUMENTS
                                               RESPONSIVE TO YUGA LABS’
  23                                           POST-JUDGMENT SUBPOENA
  24                                           Judge: John F. Walter
                                               Magistrate Judge: Rozella A. Oliver
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   1         Pursuant to the Court’s Order RE: Motion to Compel (Dkt. No. 487)
   2 (“Order”), Defendant Jeremy Cahen respectfully submits this response in
   3 opposition to Plaintiff Yuga Labs, Inc.’s (“Yuga”) Motion to Compel (“Motion”)
   4 third-party Dor, Crisostomo, Dor & Dow Accountancy Corporation (“DCDD”) to
   5 produce documents responsive to Yuga’s post-judgment subpoena (Dkt. No. 484)
   6 (“Motion”).
   7         Mr. Cahen thanks the Court for the opportunity to respond to Yuga’s motion.
   8 As the Court indicated in its order, the deadline for any response from Mr. Cahen
   9 was unclear because Yuga and DCDD proceeded by joint stipulation without
  10 involvement from Mr. Cahen or his counsel.
  11         Preliminarily, to remedy Yuga’s apparent confusion, counsel of record from
  12 Wilmer Cutler Pickering Hale and Dorr LLP continues to represent Mr. Cahen (and
  13 Mr. Ripps) in this matter (Yuga Labs, Inc. v. Ripps, Case No.: 2:22-cv-04355-JFW-
  14 RAO), as well as in the appeal of this matter (Yuga Labs, Inc. v. Ripps, No. 24-879
  15 (9th Cir.)). In its Motion, Yuga refers to correspondence from February 12, 2024
  16 between lead counsel for Yuga and lead counsel for Mr. Cahen, in which lead
  17 counsel for Mr. Cahen explained that if Yuga “has plans to bring enforcement
  18 proceedings when permitted in an applicable jurisdiction to enforce the monetary
  19 judgment against any assets that Mr. Ripps or Mr. Cahen may have, we do not
  20 represent Mr. Ripps and Mr. Cahen in connection with any such enforcement.”
  21 Declaration of Louis W. Tompros (Tompros Decl.) Ex. 1. But shortly thereafter, on
  22 February 23, 2024, lead counsel for Mr. Cahen clarified expressly: “I understand
  23 that there may be some confusion: we continue to represent Mr. Ripps and Mr.
  24 Cahen in the district court matter and at the Court of Appeals (though we are not
  25 presently retained to represent them in any other jurisdiction).” Id. (emphasis
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   1 added). 1 Counsel of record continue to represent Mr. Cahen in this proceeding and
   2 its appeal (though not in any other jurisdiction or proceeding).
   3         Final judgment in this matter entered more than eight months ago, on
   4 February 2, 2024 (Dkt. No. 452). In that judgment, Mr. Cahen and Mr. Ripps were
   5 ordered to pay Yuga a total of $8,895,346.50, and were subject to a permanent
   6 injunction (with which they have complied (see Dkt. Nos. 464, 465)). Mr. Cahen
   7 and Mr. Ripps immediately appealed (Dkt. No. 456), and the appeal was promptly
   8 placed on an expedited schedule including argument in August 2024 (Dkt. No.
   9 470). On February 23, 2024, counsel for Mr. Cahen informed Yuga that “Mr.
  10 Ripps and Mr. Cahen have informed us that they are not able to pay the judgment.”
  11 Tompros Decl. Ex. 1. This inability to satisfy the monetary aspect of the judgment
  12 was also made clear in the Appellants’ motion to expedite proceedings on appeal.
  13 See Yuga Labs, Inc. v. Ripps et al., No. 24-879, Motion to Expedite, Dkt. No. 17.1,
  14 at 5 (Mar. 2, 2024) (representing that “[i]f Yuga moves to enforce the judgment—as
  15 it is permitted to do next week—it is counsel’s understanding that both Appellants
  16 will either have to declare bankruptcy or surrender their remaining assets while they
  17 continue to prosecute this appeal”).
  18         The appeal moved forward on an expedited basis, and Yuga appeared to be
  19 taking no meaningful action to enforce the monetary aspect of the judgment. Yuga
  20 filed a deficient writ of execution in April 2024 (Dkt. No. 472), and Yuga was
  21 notified of the deficiency in that submission in May (Dkt. No. 473). But it did not
  22 then take action to correct that deficiency. In the meantime, the appeal was fully
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      It appears that, several months later, in September 2024, new counsel for Yuga
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  24 sent a letter by email to a single member of the team then representing Mr. Cahen
  25 (who has since left WilmerHale and withdrawn from representation) (Dkt. No. 484,
     at n.1; see also Dkt. No. 486 (withdrawal of appearance)). It was not until October
  26 25, 2024 that lead counsel for Mr. Cahen (or any other counsel now of record for
     Mr. Cahen) became aware of the letter from Yuga’s new counsel seeking further
  27 clarification about Mr. Cahen’s representation.
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   1 briefed by June 2024, and argued on August 15, 2024. See Yuga Labs, Inc. v.
   2 Ripps, No. 24-879, Dkt. Nos. 49 (briefing completed on June 20, 2024), 57 (oral
   3 argument on August 15, 2025). Given Yuga’s apparent abandonment of its writ of
   4 execution coupled with Mr. Cahen’s repeated representations that he was unable to
   5 satisfy the monetary aspects of the judgment, Mr. Cahen assumed that Yuga had no
   6 intention of pursuing further enforcement (at least until the completion of the
   7 expedited appeal).
   8         It was only after oral argument in the appeal was complete that Yuga—
   9 having taken no action to enforce the judgment for four months—filed a new writ
  10 of execution (Dkt. No. 477 (August 19, 2024)). And it was another week after that,
  11 on August 26, 2024, when counsel for DCDD reached out to counsel for Mr. Cahen
  12 asking for Mr. Cahen’s approval or denial of consent for DCDD to provide Mr.
  13 Cahen’s tax returns to Yuga. (Dkt. No. 484-2, at 7-8). Mr. Cahen declined to give
  14 that consent, reasoning that the appeal would be decided soon, that reversal or
  15 vacatur was likely, and that even partial reversal or vacatur on any ground would
  16 vitiate the attorney’s fee award (which constituted the bulk of the nearly $9 million
  17 judgment). Yuga’s motion followed.
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   1         To summarize, the timeline leading up to Yuga’s motion is:
   2               February 2     Final Judgment
       February
   3               February 12    Cahen Notices Appeal
          2024
   4               February 23    Cahen Informs Yuga of Inability to Pay
   5               March 1        Cahen Certifies Compliance with Injunction
         March
   6               March 2        Cahen Files Opening Appeal Brief and Mot. to Expedite
          2024
   7               March 15       Expedited Case Placed on August Argument Calendar
   8               April 2        Yuga Files Deficient Writ of Execution
         April
   9
          2024                    [No other enforcement action by Yuga]
  10
  11               May 16         Yuga Writ of Execution Rejected as Deficient
  12      May

  13      2024                    [No enforcement action by Yuga]

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  15      June
                                  [No enforcement action by Yuga]
  16      2024

  17
  18      July
                                  [No enforcement action by Yuga]
  19      2024

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                   August 15      Oral Argument on Appeal
  21    August
                   August 19      Yuga Files Corrected Writ of Execution
  22      2024
                   August 26      DCDD Requests Consent to Disclose Cahen Returns
  23
             In sum, in the four months during which the appeal was proceeding on an
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       expedited basis, Yuga did not appear to engage in any meaningful enforcement
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       activity. It is now just over three months since oral argument in the appeal, and a
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       decision is likely forthcoming any day. In these circumstances, Mr. Cahen
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   1 respectfully submits that post-judgment discovery should be delayed pending the
   2 imminent decision from the Court of Appeals, which is likely to reverse or vacate
   3 the underlying judgment in whole or in part, rendering post-judgment discovery
   4 unnecessary.
   5         Mr. Cahen accordingly requests that the Court deny Yuga’s post-judgment
   6 motion without prejudice pending an order from the Court of Appeals on the
   7 underlying judgment.
   8
   9
       Dated: November 14, 2024                    By: /s/ Louis W. Tompros
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   1
   2                               CERTIFICATE OF SERVICE
   3         I hereby certify that a copy of the foregoing document was served on all
   4 attorneys of record via the Court’s ECF system on November 14, 2024
   5
   6                                               By: /s/ Louis W. Tompros       .
   7                                                     Louis W. Tompros
   8
   9
  10                           CERTIFICATE OF COMPLIANCE
  11         The undersigned, counsel of record for Defendant Jeremy Cahen, certifies that
  12 this brief contains 1,215 words, which:
  13                X complies with the word limit of L.R. 11-6.1.
  14               ___ complies with the word limit set by court order dated [date]
  15
  16 Dated: November 14, 2024                      Respectfully submitted,
  17                                               By: /s/ Louis W. Tompros       .
  18                                                     Louis W. Tompros
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